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   GERALDINE BUENAVENTURA VS NCL (BAHAMAS) LTD. ET AL
   Local Case Number: 2018-013789-CA-01
   Filing Date: 04127 12018
   State Case Number: 132018C4013789000001
   Gase Type: Other Negligence
   Consolidated Case No.: N/A
   JudicialSection: CA32
   Gase Status: OPEN




    Ê9 Part¡es                                                Number of Parties: 4 *



    r\ Hearing Details                                       Number of Hearing: 0 *




    ñ Dockets                                                Dockets Retrieved: 19




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                 Number Date           Book/Page Entry        Type      Gomments

         ¡       16       07t03t2018             Notice       Event     OF AGREED EXTENSION OF
                                                                        TIME


         ¡       15       06t25t2018             Notice of    Event
                                                 Appearance


         f       14       06t14t2018             Notice:      Event     OF AGREED EXTENSION OF
                                                                        TIME


         D       13       06/08/2018             Service      Event
                                                 Returned


         ¡       12       05t30t2018             Service      Event
                                                 Returned


         f       11       0513012018             Service      Event
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                          05t10t2018             20Day        Service
                                                 Summons
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         D       10       05t1012018              ESummons    Event     Pafties: HATECKE SERY/CE
                                                  20Day                 USA LLC
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                          05t10t2018              20 Day      Service
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          ¡      I        05t10t2018              ESummons    Event Pañies: NCL (BAHAMAS) LTD.
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           7         05/08/2018              Receipt: Event       RECEIPT#:3400049 AMT
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                                                                  NAME:WINKLEMAN,
                                                                  MICHAEL ALAN 2 S
                                                                  BISGAYNE BLVD MIAMI FL
                                                                  3313{-1806 COMMENT:
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            3        05t0212018              Receipt      Event   RECEIPT#:3500199 AMT
                                                                  PAID:$401.00
                                                                  NAME:WINKLEMAN,
                                                                  MICHAEL ALAN 2 S
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      ]     5        05t01t2018              (M) 20 Day   Event
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                                             Received


      ¡     4        05t01t2018              (M) 20 Day   Event
                                             (c)
                                             Summons
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      ¡     2        04127t2018              Complaint Event




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